
Upon the trial of this cause, which was. an action for freedom, in the Superior Court of Ohio County, the Court instructed the Jury, that, in the case of slaves brought into this State, from any of the United States, before the Act of 1792,(1) the fact of the master’s having taken the oath required by law within ten days after removal, would be presumed from a lapse of twenty years possession without claim of freedom on the part of the slaves; so as to throw the onus probandi on the plaintiff suing for freedom; but this presumption might be met or avoided by circumstances. The Court, being then asked to direct the Jury that the infancy of the party was a circumstance which would defeat that presumption, refused to give such direction, but told the Jury that infancy was a circumstance, the weight and effect of which should be left to them.
A verdict was thereupon found, and judgment entered, for the defendant; which judgment was affirmed by the Court of Appeals; the record being submitted by the appellant’s Counsel, without argument, and the appellee not appearing.

 Note. See Acts of October 1778, c. 1,1785, c. 77,. §5; 1792, edi. 1794, 1803, and 1814, c. 103, § 4.

